                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:12-cv-525-FDW
                                  (3:03-cr-36-FDW-9)

JAMAR BRICE,                                 )
                                             )
               Petitioner,                   )
                                             )
                   v.                        )                    ORDER
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
               Respondent.                   )
                                             )

       THIS MATTER is before the Court on an initial review of Petitioner’s Motion to

Vacate, Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255. (Doc. No. 1). For the

reasons that follow, Petitioner’s Section 2255 motion will be dismissed, and his alternative

claims for relief under 28 U.S.C. § 2241, and pursuant to petitions for writs of coram nobis and

audita querela will be denied.

                                      I.   BACKGROUND

       On June 30, 2005, Petitioner was convicted of conspiracy to possess with intent to

distribute and distribution of cocaine and cocaine base, in violation of 21 U.S.C. §§ 841(a)(1)

and 846. (3:03-cr-36, Doc. No. 192: Judgment in a Criminal Case at 1-2).1 Petitioner was

sentenced to an active term of 204-months’ imprisonment. Petitioner did not file a direct appeal

from this criminal judgment.


       1
        Following his indictment, the Government filed an Information pursuant to 21 U.S.C. §
851 notifying Petitioner of its intention to seek enhanced penalties based on three alleged felony
drug convictions in North Carolina: two counts of possession with intent to sell and deliver
cocaine in 1999 and 2000, and one count of possession with intent to sell and deliver cocaine in
2001. (Doc. No. 84).

                                                 1


      Case 3:03-cr-00036-FDW           Document 348        Filed 11/26/12      Page 1 of 8
       On August 17, 2012, Petitioner, through counsel, filed the present motion under Section

2255 contending that prior felony drug convictions, which were noticed by the Government

under Section 851, no longer qualify as proper, predicate felonies based on the Fourth Circuit’s

opinion in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc). (3:12-cv-525, Doc.

No. 1 at 1).

                                 II. STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

                                       III.   DISCUSSION

       A.      Section 2255 Motion

       On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(the “AEDPA”). Under the AEDPA, there is a one-year statute of limitations for filing a motion

for collateral relief. Section 2255(f) provides:

       (f)     A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of—

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the United States
               is removed, if the movant was prevented from making a motion by such
               governmental action;

               (3) the date on which the right asserted was initially recognized by the Supreme

                                                   2


       Case 3:03-cr-00036-FDW            Document 348       Filed 11/26/12      Page 2 of 8
               Court, if that right has been newly recognized by the Supreme Court and made
               retroactively applicable to cases on collateral review; or

               (4) the date on which the facts supporting the claim or claims presented could
               have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

Petitioner’s criminal judgment was entered on June 30, 2005, making his judgment final in July

2005, or over seven years prior to the filing of this Section 2255 motion. The Court finds that

Petitioner’s Section 2255 motion is untimely because he cannot meet any of the above

provisions under § 2255(f). Further, the Court finds that Petitioner is not entitled to equitable

tolling because he does not present a meritorious claim for relief based on current Fourth Circuit

precedent discussed below.

       Petitioner asserts that he is entitled to relief under Simmons because the Fourth Circuit

has changed the way that the district court must determine whether a prior conviction qualifies as

a felony for the purpose of determining an appropriate sentence under the sentencing guidelines.

In Simmons, the Fourth Circuit held that in order for a prior felony conviction to serve as a

predicate offense, the individual defendant must have been convicted of an offense for which

that defendant could be sentenced to a term exceeding one year. Simmons, 649 F.3d at 243

(emphasis added). In reaching this holding, the Simmons Court expressly overruled United

States v. Harp, 406 F.3d 242 (4th Cir. 2005), which held that in determining “whether a

conviction is for a crime punishable by a prison term exceeding one year [under North Carolina

law] we consider the maximum aggravated sentence that could be imposed for that crime upon a

defendant with the worst possible criminal history.” Id. (quoting Harp, 406 F.3d at 246)

(emphasis omitted).

       The Fourth Circuit, in an opinion filed three days after Petitioner filed the present

                                                  3


       Case 3:03-cr-00036-FDW           Document 348         Filed 11/26/12      Page 3 of 8
motion, held that the Supreme Court’s decision in Carachuri-Rosendo v. Holder, 130 S. Ct. 2577

(2010), and its en banc opinion in Simmons were not retroactive to cases on collateral review.

See United States v. Wheeler, No. 11-6643, 2012 WL 5417557, at *1 (4th Cir. filed Nov. 7,

2012) (unpublished) (citing United States v. Powell, 691 F.3d 554 (4th Cir. 2012)); see also

United States v. Walker, 2012 WL 5359506, at *1 (4th Cir. filed Nov. 1, 2012) (holding that

“Carachuri claims may not be raised retroactively in collateral proceedings.”).

These holdings preclude relief in this Section 2255 proceeding.2

       B.      Coram Nobis

       Petitioner has also pled alternative claims for relief pursuant to a motion filed under 28

U.S.C. § 2241, and through the filing of petitions for a writ of coram nobis and audita querela.

Relief pursuant to a petition for a writ of coram nobis should be limited to petitioners that are no

longer in custody pursuant to their convictions. Carlisle v. United States, 517 U.S. 416, 428-29

(1996); see also United States v. Orocio, 645 F.3d 630, 634 n.4 (3rd Cir. 2011) (“The writ is

available to persons not held in custody [to] attack a conviction for fundamental defects, such as

ineffective assistance of counsel.”). Petitioner is still in custody therefore he should not be

allowed to attack his criminal judgment through this writ. Second, relief under a theory of coram

nobis is an “‘extraordinary’ remedy that is relied upon to correct errors of the most fundamental

character that rendered the underlying proceeding invalid when no other alternative remedy is

available.” United States v. Akinsade, 686 F.3d 248, 260 (4th Cir. 2012) (quoting United States

v. Morgan, 346 U.S. 502, 512 (1954)).


       2
         The Fourth Circuit’s en banc decision in Simmons was reached through the majority’s
interpretation of the Supreme Court’s decision in Carachuri-Rosendo v. Holder, 130 S. Ct. 2577
(2010). Namely, that the focus of whether a prior conviction qualified as a felony must center on
the defendant that is before the sentencing court and not a hypothetical defendant.

                                                  4


       Case 3:03-cr-00036-FDW            Document 348        Filed 11/26/12       Page 4 of 8
       Petitioner filed a motion under Section 2255 in an effort to correct or set aside his

sentence based on his contention that his prior drug convictions no longer qualify to support the

finding that he was a career offender. In Powell, the Court specifically held that the rule

announced in Carachuri “is best understood as articulating a procedural rule rather than a

substantive one.” Powell, 691 F.3d at 558. The Court found that “[b]ecause the sole innovation

of Carachuri relates to ‘the manner of determining’ the potential punishment for an offense

based on the facts disclosed by the judicial record, it is a quintessential procedural rule.” Id. at

559 (internal citations omitted). As noted, the Court then held that the rule in Carachuri and in

Simmons is not retroactive to cases on collateral review. It would seem to follow, then, that

Petitioner cannot first fail in a Section 2255 proceeding, and then seek alternative relief under an

alternative avenue such as a writ of coram nobis.

       In seeking relief pursuant to a writ of coram nobis under the All Writs Act, see 28 U.S.C.

§ 1651(a), “the burden is on the petitioner to demonstrate that the asserted error is jurisdictional

or constitutional and results in a complete miscarriage of justice.” Klein v. United States, 880

F.2d 250, 253 (10th Cir. 1989). Establishing a right to relief under this writ presents a substantial

burden, “described by some jurists as exceeding that of an ordinary habeas petitioner.”

Akinsade, 686 F.3d at 261 (Traxler, C.J. dissenting) (citing United States v. Stoneman, 870 F.2d

102, 106 (3d Cir. 1989)). “Where a statute specifically addresses the particular issue at hand, it is

that authority, and not the All Writs Act, that is controlling.” Carlisle, 517 U.S. at 429.

       The Court finds that Petitioner was able to present a challenge to his sentence pursuant to

the provisions of Section 2255. That he was unsuccessful before this Court under § 2255 does

not open the door for coram nobis relief. See, e.g., United States v. Mandel, 862 F.2d 1067, 1075

(4th Cir. 1988) (“We follow the Second Circuit, which, in an opinion by Judge Friendly, has

                                                   5


       Case 3:03-cr-00036-FDW            Document 348         Filed 11/26/12       Page 5 of 8
specifically allowed the granting of a writ of error coram nobis in light of a retroactive

dispositive change in the law . . .” ) (citing United States v. Travers, 514 F.2d 1171 (2d Cir.

1974)).

          Petitioner’s sentence was handed down under the law as it existed under Harp, and the

holdings in Carachuri and Simmons have not been made retroactive which should lead to the

conclusion that his prior convictions were properly considered felonies at the time he was

sentenced.3 Accordingly, this petition will be denied.

          C.     Audita Querela

          Next the Court finds that the writ of audita querela is unavailable to a petitioner that may

otherwise challenge his conviction or sentence by way of a Section 2255 motion. “A writ of

audita querela is not available to a petitioner when other avenues of relief are available, such as

a motion to vacate under § 2255.” In re Moore, 2012 WL 5417618, at *1 (4th Cir. filed Nov. 7,

2012) (unpublished) (citing United States v. Torres, 282 F.3d 1241, 1245 (10th Cir. 2012)), and

United States v. Johnson, 962 F.2d 579, 582 (7th Cir. 1982) (noting that relief under this writ is

unavailable to a petitioner who could raise his claim pursuant to Section 2255). This petition will

be denied.

          D.     Section 2241

          Petitioner has also filed for relief under 28 U.S.C. § 2241. A petitioner seeking to attack



          3
        The Court further notes that Petitioner should not be entitled to relief under a writ of
coram nobis because his sentence of 204-months was well within the maximum sentence as
authorized under 21 U.S.C. § 841(a), with or without consideration of the prior state drug
convictions. The penalty provision applicable to § 841(a) provides that upon conviction the
defendant “shall be sentenced to a term of imprisonment which may not be less than 10 years or
more than life.” 21 U.S.C. § 841(b). See 28 U.S.C. § 2255(a) (petitioner may challenge a
sentence on the ground that it “was in excess of the maximum authorized by law.”

                                                    6


       Case 3:03-cr-00036-FDW             Document 348        Filed 11/26/12      Page 6 of 8
his conviction or sentence must file a motion under § 2255 unless this remedy “is inadequate or

ineffective to test the legality of his detention.” 28 U.S.C. § 2255(e). “It is beyond question that

§ 2255 is not inadequate or ineffective merely because an individual is unable to obtain relief

under that provision.” In re Jones, 226 F.3d 328, 333 (4th Cir. 2000). The Fourth Circuit has

concluded that the remedy under § 2255 is “in adequate or ineffective” only when:

       (1) at the time of conviction settled law of this circuit or the Supreme Court established
       the legality of the conviction; (2) subsequent to the prisoner’s direct appeal and first §
       2255 motion, the substantive law changed such that the conduct of which the prisoner
       was convicted is deemed not to be criminal; and (3) the prisoner cannot satisfy the
       gatekeeping provisions of § 2255 because the new rule is not of one of constitutional law.

Id. at 333-34.

In the present case, Petitioner does not challenge the legality of his conviction, rather he

challenges his sentence based on prior drug convictions which he contends are no longer

properly considered for sentencing enhancement. As Petitioner is only challenging his sentence

he has therefore failed to demonstrate that pursuit of relief through the provisions of Section

2255 is inadequate. Moreover, as the Court has observed, without consideration of the prior drug

convictions, Petitioner was still sentenced to a term of imprisonment within the maximum. For

these reasons, Petitioner’s Section 2241 motion will be denied.

                                       IV. CONCLUSION

       IT IS, THEREFORE, ORDERED that:

       1.        Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. §

2255 is DISMISSED as untimely. (Doc. No. 1).

       2.        Petitioner’s motion for relief pursuant to 28 U.S.C. § 2241 is DENIED.

       3.        Petitioner’s petitions for writs of coram nobis and audita querela are DENIED.

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

                                                  7


       Case 3:03-cr-00036-FDW           Document 348         Filed 11/26/12      Page 7 of 8
Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the petition states a

debatably valid claim of the denial of a constitutional right).

                                                  Signed: November 26, 2012




                                                  8


       Case 3:03-cr-00036-FDW           Document 348         Filed 11/26/12      Page 8 of 8
